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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

                           Case No. 2:19-cv-00142-SPC-MRM

STRIKE 3 HOLDINGS, LLC, a limited liability
company,

      Plaintiff,

v.

JOHN DOE subscriber assigned IP address
174.63.150.232, an individual,

      Defendant.

                                              /

 DECLARATION OF SUSAN B. STALZER IN SUPPORT OF PLAINTIFF’S MOTION
  FOR LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f)
                           CONFERENCE




                        [Remainder of page intentionally left blank]




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                                       EXHIBIT D
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  DECLA RATION OF SUSA N B. STALZER IN SUPPORT OF PLAINTIFF'S MOTION
    FOR LEAVETOT AKE DISCOVERY PRIOR TO A RULE 26{0 CONFERENCE

I, Susan B. Stalzer, do hereby state and declare as follows:

        1.      My name is Susan B. Stalzer.          I am over the age of 18 and am otherwise

competent to make this declaration.

        2.      This declaration is based on my personal knowledge and, if called upon to do so, I

will testify that the facts stated herein are true and accurate.

        3.      I work for Strike 3 Holdings, LLC ("S1Tike 3") and review the content of their

motion pictures.

        4.      I hold a Bachelor's degree and Master's degree m English from Oakland

University.

        5.      I have a long history of working in the fine arts, with an emphasis on writing,

including having served as an adjunct professor of composition and literature.

       6.       I am familiar with Strike 3's plight with online piracy and its determination to

protect its copyrights.

       7.      I was tasked by Strike 3 with verifying that each infringing file identified as a

motion picture owned by Strike 3 on torrent websites was in fact, either identical, strikingly

similar or substantially similar to a motion picture in which Strike 3 owns a copyright.

       8.      IPP provided me with the infringing motion picture file for each of the file hashes

listed on Exhibit A to Strike 3 's Complaint.

       9.      I viewed each of the unauthorized motion pictures corresponding to the file

hashes side by side with Strike 3's motion pictures, as published on the Blacked, Blacked Rm-v,



Declaration of Susan B. Stalzer in Support of Plaintiffs Motion for Leave to Serve a Third Party
                          Subpoena Prior to a Rule 26(f) Conference

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Tushy Tushy Raw, and/or Vixen websites and enumerated on Exhibit A by their United States

Copyright Office identification numbers.

       10.     Each digital media file, as identified by the file hash value, is a copy of Strike 3's

corresponding motion picture and is identical, strikingly similar or substantially similar to the

original work identified by their United States Copyright Office identification numbers on

Exhibit A to the Complaint.
       l 1.    Additionally, I used American Registry for Internet Numbers ("ARIN") to

confirm that the ISP did own Defendant's IP address at the time of the infringements, and hence

has the relevant information to identify Doe Defendant.




                                       DECLARATION

       PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
laws of the United States_ of AR?-erica that ��foregoingjs true an��ect.
       Executed on this A     lJ day of fU(2.t..6-CX0         , 20�.


                                      S��- �;L-----·--·····-·····-··•··
                                      By:     v�/




Declaration of Susan B. Stalzer in Support of Plaintiffs Motion for Leave to Serve a 111ird Party
                           Subpoena Prior to a Rule 26(f) Conference

                                           EXHIBITD
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